957 F.2d 912
    294 U.S.App.D.C. 163
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.WEGMANS FOOD MARKET, INC., Petitioner,v.NATIONAL LABOR RELATIONS BOARD, Respondent,United Food and Commercial Workers District Union Local One,Intervenor.
    No. 90-1612.
    United States Court of Appeals, District of Columbia Circuit.
    March 17, 1992.
    
      Before MIKVA, Chief Judge, and RUTH BADER GINSBURG and BUCKLEY, Circuit Judges.
    
    ORDER
    PER CURIAM
    
      1
      Upon consideration of the motion to withdraw petition for review and cross-application for enforcement, and to remand, and the absence of any response thereto, it is
    
    
      2
      ORDERED that the motion to withdraw be granted without prejudice and the case is hereby remanded to the National Labor Relations Board for reconsideration in light of the Supreme Court's decision in  Lechmere, Inc. v. NLRB, 112 S.Ct. 841 (1992).
    
    
      3
      The Clerk is directed to issue forthwith a certified copy of this order to the respondent in lieu of formal mandate.
    
    